    Case: 1:20-cv-02942 Document #: 71 Filed: 11/08/21 Page 1 of 5 PageID #:288




                       THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 KEVIN DALE, FRANK HOVAR,
 JAMIE LAWSON, MICHAEL LEOPARDO,
 BRAD LONG, FORTUNATO SALAMONE,
 JOEL SJOSTROM, GLEN TURPOFF,                       Case No. 1:20-cv-2942
 CHRIS WOOD, AND JOSE ZAMARRIPA,
 as members of the Board of Trustees of the         Honorable John F. Kness
 NORTHERN ILLINOIS ANNUITY FUND
 AND PLAN,                                          Magistrate Judge Jeffrey T. Gilbert
 on behalf of the Participants of the
 Northern Illinois Annuity Fund and Plan,

                       Plaintiffs,
        vs.

 NFP CORP., et al,

                       Defendants.


        AGREED MOTION TO STAY DISCOVERY AND FOR OTHER RELIEF

       Pursuant to the Federal Rules of Civil Procedure 26(c)(B) and 15(a)(2), Plaintiff and

Defendants hereby jointly move the Court to enter an order that: Plaintiff shall file an Amended

Complaint on or before December 20, 2021; Defendants shall file an Answer or otherwise plead

on or before January 21, 2022; any and all further discovery is stayed until Defendants have filed

their Answer and/or other responsive pleading to such Amended Complaint and Defendants’

responsive pleading, if any, is ruled upon by the Court; and Defendants’ pending motions are

rendered moot b the filing of the Amended Complaint (the “Agreed Motion”).

       In support of the Agreed Motion, Plaintiff and Defendants (collectively, the “Parties”) state

as follows:

       1.      Plaintiff filed its Complaint on May 18, 2020. (Doc. # 1).
    Case: 1:20-cv-02942 Document #: 71 Filed: 11/08/21 Page 2 of 5 PageID #:289




       2.      In response to the Complaint, on July 17, 2020, Defendants filed a partial Motion

to Dismiss, seeking an order dismissing defendants NFP Corp. and Kestra Financial, Inc. from the

action, and a Motion for More Definite Statement. (Doc. # 2).

       3.      Written fact discovery between the Parties is nearly complete. Magistrate Judge

Gilbert has ordered the Parties to meet and confer about any remaining discovery disputes and, by

November 15, 2021, file an updated status report concerning any remaining discovery issues with

bullet point descriptions of those disputes, for Judge Gilbert’s resolution thereafter, if

necessary. (See Doc. # 70.)

       4.      The Parties seek an order that, pursuant to Fed. R. Civ. P. 15(a)(2), with

Defendants’ written consent, Plaintiff shall file an Amended Complaint on or before December

10, 2021, and Defendants shall answer or otherwise plead on or before January 21, 2022.

       5.      The Parties seek a further order that the filing of the Amended Complaint shall

render moot Defendants’ pending partial Motion to Dismiss and Motion for More Definite

Statement, since those motions were directed to the original Complaint and the Amended

Complaint will supersede the original Complaint.

       6.      Pursuant to Fed. R. Civ. P. 26(c)(B), the Parties seek an order staying further

discovery until Defendants have filed their Answer and/or other responsive pleading to the

Amended Complaint and, the responsive pleading, if any, is ruled upon by the Court.

       7.      “In deciding whether to enter such a stay, courts consider the following factors: ‘(i)

whether a stay will unduly prejudice or tactically disadvantage the non-moving party, (ii) whether

a stay will simplify the issues in question and streamline the trial, and (iii) whether a stay will

reduce the burden of litigation on the parties and on the court.’” Hudson Specialty Ins. Co. v.

Joseph, No. 19-CV-6293, 2020 WL 3050251, at *2 (N.D. Ill. June 8, 2020) (quoting Pfizer Inc. v.



                                                 2
     Case: 1:20-cv-02942 Document #: 71 Filed: 11/08/21 Page 3 of 5 PageID #:290




Apotex Inc., 640 F. Supp. 2d 1006, 1007 (N.D. Ill. 2009)). While good cause is required, “stays

are granted with some frequency.” DSM Desotech Inc. v. 3D Sys. Corp., No. 08 CV 1531, 2008

WL 4812440, at *2 (N.D. Ill. Oct. 28, 2008).

        8.      Here, good cause exists to enter a stay of further discovery. The Parties bring this

Agreed Motion jointly and agree that a stay is in the best interest of all parties and will not result

in undue prejudice or a tactical disadvantage to any party. A stay will preserve the Court’s and the

Parties’ resources during the period in which issue are joined and the initial pleadings completed,

and the identity of the parties and issues in question are further clarified. A stay of further discovery

under these circumstances will increase economic efficiencies for the Court and the Parties.

        WHEREFORE, the Parties respectfully request this Court enter an order as follows:

        1. Plaintiff shall file an Amended Complaint on or before December 10, 2021, and

             Defendants shall answer or otherwise plead in response thereto on or before January

             21, 2022;

        2.   Defendants’ pending partial Motion to Dismiss and Motion for More Definite

             Statement shall be rendered moot by the filing of the Amended Complaint; and

        3. Any and all further discovery is stayed until Defendants have filed their Answer and/or

             other responsive pleading to the Amended Complaint and, such responsive pleading, if

             any, is ruled upon by the Court.


Respectfully submitted this 8th day of November, 2021.

 s/ Karen L. Tidwall
Karen L. Tidwall (IL Bar No. 6216945)
Joshua B. Levy (WI Bar No. 1017759)
HUSCH BLACKWELL LLP
511 North Broadway, Suite 1100
Milwaukee, WI 53202
Ph. (414) 978-5411
Fx. (414) 223-5000

                                                   3
    Case: 1:20-cv-02942 Document #: 71 Filed: 11/08/21 Page 4 of 5 PageID #:291




karen.tidwall@huschblackwell.com
joshua.levy@huschblackwell.com

Attorneys for Plaintiff
s/ Melissa A. Bozeman
Melissa A. Bozeman (Pro Hac Vice)           Oliver Griffin (Pro Hac Vice)
KUTAK ROCK LLP                              KUTAK ROCK LLP
1760 Market Street, Suite 1100              1801 California Street, Suite 3000
Philadelphia, PA 19103                      Denver, CO 80202
Ph. (215) 299-4384                          Ph. (303) 297-2400
Fx. (215) 981-0719                          Fx. (303) 292-7799
Melissa.Bozeman@KutakRock.com               Oliver.Griffin@KutakRock.com

                                            John J. Westerhaus (Pro Hac Vice)
                                            KUTAK ROCK LLP
                                            1650 Farnam Street
                                            Omaha, NE 68102
                                            Ph. (402) 231-8830
                                            Fx. (402) 346-1148
                                            John.Westerhaus@KutakRock.com

Attorneys for Defendants




                                        4
    Case: 1:20-cv-02942 Document #: 71 Filed: 11/08/21 Page 5 of 5 PageID #:292




                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 8, 2021, I filed the foregoing with the United States
District Court for the Northern District of Illinois using the e-filing system, which will send notice
to all counsel and parties of record.



                                                   /s/ Karen L. Tidwall
                                                   Karen L. Tidwall
